Case 2:11-cr-20551-RHC-MKM ECF No. 848, PageID.3640 Filed 09/03/14 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20551-36

 JAMES BLAKE,

               Defendant.
                                                  /

                   ORDER PERMITTING SUBSTITUTION OF COUNSEL

        One August 26, 2014 a hearing was held regarding the substitution of newly

 retained counsel Lawrence Shulman and Todd Flood in place of court appointed counsel

 Christopher Seikaly as counsel for the defendant. For the reasons stated on the record,

        IT IS ORDERED that Lawrence Shulman and Todd Flood shall be substituted in

 the place and stead of Christopher Seikaly as counsel for Defendant, James Blake.

        IT IS FURTHER ORDERED, consistent with the provisions of the Local Rules of

 this district, that unless counsel is permitted for good cause to withdraw or is succeeded

 by subsequent counsel, they shall continue to represent the defendant until (a) the case is

 dismissed, (b) the defendant is acquitted, or (c) the direct appeal is completed. (E.D.

 Mich LCrR 57.1)

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE
 Dated: September 3, 2014
Case 2:11-cr-20551-RHC-MKM ECF No. 848, PageID.3641 Filed 09/03/14 Page 2 of 2




 I hereby certify that a copy of the foregoing document was mailed to counsel of record on
 this date, September 3, 2014, by electronic and/or ordinary mail.

                                                                             S/Lisa Wagner
                                                                            Case Manager and Deputy Clerk
                                                                            (313) 234-5522




                                                                                 2
 S:\Cleland\JUDGE'S DESK\Lisa's Folder\11-20551 BLAKE Attorney Substitution Order Permitting.wpd
